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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
    Plaintiffs,                             )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )     No. CIV-19-1198-D
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE SEMINOLE NATION, and                    )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
    Plaintiffs-in-Intervention,             )
                                            )
v.                                          )
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma,      )
                                            )
    Defendant/Counterclaimant.              )
                                            )

PLAINTIFFS CHEROKEE NATION, CHICKASAW NATION AND CHOCTAW
NATION’S AND PLAINTIFFS-IN-INTERVENTION CITIZEN POTAWATOMI
  NATION, DELAWARE NATION, MUSCOGEE (CREEK) NATION, AND
QUAPAW NATION’S RESPONSE TO DEFENDANT’S MOTION TO CLARIFY
PARTIES’ AUTHORITY TO COMPLY WITH COURT’S MEDIATION ORDER
         AND MOTION TO HOLD MEDIATION IN ABEYANCE

      The Plaintiffs Cherokee Nation, Chickasaw Nation, and Choctaw Nation and

Plaintiffs-in-Intervention Citizen Potawatomi Nation, Delaware Nation, Muscogee

(Creek) Nation, and Quapaw Nation (“Nations”) respond as follows to Defendant’s

Motion To Clarify Parties’ Authority to Comply with Court’s Mediation Order and Brief in

Support, ECF No. 131 (“Motion to Clarify”), and Defendant’s Motion to Hold Mediation



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in Abeyance, ECF No. 132 (“Abeyance Motion”). As the Nations explain below, the Court

should deny both Motions.

       The Motion to Clarify raises issues that are irrelevant to the questions before this

Court and are outside of the issues in this case and that have been raised in two other

forums. Since Defendant filed this motion, leaders of the Oklahoma Legislature have

initiated a case against him in the Oklahoma Supreme Court that seeks to resolve these

issues. Additionally, the Secretary of the Interior (“Secretary”) took no action on the

agreements at the center of Defendant’s motion, and as a result, those agreements are in

limbo: they are “considered to have been approved” “only to the extent the compact is

consistent with [the Indian Gaming Regulatory Act (“IGRA”)].”               25 U.S.C. §

2710(d)(8)(C). The issues Defendant raises in his motion should be resolved in the

pending state proceeding or in proceedings concerning the Secretary’s decision to allow

the agreements to go into effect by operation of law to the extent they are consistent with

IGRA. See 25 C.F.R. § 293.12 (“If the Secretary neither affirmatively approves nor

disapproves a compact or amendment with the 45-day review period, the compact or

amendment is considered to have been approved, but only to the extent it complies with the

provisions of [IGRA].”) For these and other reasons, the Motion to Clarify is meritless, as

is the Abeyance Motion, and both motions should be denied.

I.     The Court Should Deny the Motion to Clarify.

       In his Motion to Clarify, Defendant asks this Court to resolve questions about his

authority under state law and IGRA to enter into gaming agreements with the Comanche

Nation and the Otoe-Missouria Tribe (“Two Tribes”). Motion to Clarify at 8-12. He

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further asks the Court to determine that he has the authority under state law to bind the

State to the Two Tribes’ agreements, which purport to authorize house banked card games,

table games, and event wagering, which are not permitted under the Model Compact. Id. at

11, 13-14. The Court should deny those requests because they are improperly brought and

incorrect.

       A.     The Motion to Clarify Raises Issues Beyond the Scope of this Case.

       The state law questions that Defendant seeks to have resolved here are wholly

unrelated to the allegations that the Nations and Plaintiffs-in-Intervention make in their

complaints and that Defendant makes in his counterclaims. The question presented in this

action is whether the automatic renewal provision of the existing Compacts between the

Nations and the State caused the Compacts to renew on January 1, 2020. Defendant’s

authority to enter into other compacts without state legislative approval is simply not

within the scope of the case.

       Defendant deliberately and definitively took those issues out of the case when he

filed the Joint Motion For Leave Of Court To File Stipulations Of Dismissals With

Prejudice, ECF No. 120 (“Joint Motion”). The Joint Motion did not present the settlements

or the Two Tribes’ agreements to this Court and did not ask the Court to rule on the legality

of those agreements. The Court then dismissed Defendant’s and the Two Tribes’ actions

with prejudice pursuant to the Joint Motion, noting that the dismissal of the Two Tribes’

claims and Defendant’s counterclaims against them “without any review or approval of the

settlement agreements (which the movants have not requested) and without any judicial




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action on the merits of the underlying claims – will have no legal effect on the issues

presented for decision in this case.” ECF No. 124 at 2.

       Since he and the Two Tribes withdrew the actions purportedly resolved by those

agreements from this Court’s consideration, and those actions were dismissed with

prejudice, Defendant has no basis on which to make the instant request of the Court.

Defendant attempts to rely on the mediation as a basis to raise these issues, but he earlier

relied on the mediation to justify the Joint Motion, ECF No. 120 at 4-5, so that adds

nothing. Moreover, he nowhere suggests that there is any pending legal question in the

mediation related to these agreements that needs to be resolved for mediation with the

remaining parties to go forward. Defendant offers only innuendo, implying that the

Nations’ objections to his Compacts with the Two Tribes raise questions about the

Nations’ good faith participation in the mediation. ECF No. 131 at 8. That suggestion has

neither factual nor legal basis.

       In short, having secured the dismissal with prejudice that he sought without

presenting his agreements with the Two Tribes to this Court, Defendant now wishes he

hadn’t and is seeking to resurrect the issues and effectively obtain a declaratory judgment

on the meaning of state law. There is no valid basis for his request, and the Court should

deny his Motion to Clarify.

       B.     The Issues Defendant Raises Are Properly Decided Elsewhere.

       That the issues Defendant raises are beyond the scope of this case does not mean

that he has no way to litigate them. On June 4, 2020, the President Pro Tempore of the

Oklahoma Senate and the Speaker of the Oklahoma House jointly filed an original action

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against Defendant in the Oklahoma Supreme Court, asking that court to resolve the issues

of state law that Defendant raises here, which are questions of first impression in the

Oklahoma courts. See Ex. 1 (App. to Assume Original Juris. & Pet. for Decl’y Relief & Br.

in Supp., Treat v. Stitt, No. 118829 (Okla. filed June 4, 2020)).

       Moreover, before Defendant filed the Motion to Clarify, he submitted the

agreements to the Secretary for approval under IGRA. The Secretary took no action to

approve or disapprove those agreements, and as a result, the agreements went into effect on

June 8, 2020 only to the extent they are consistent with IGRA. See 25 U.S.C. §

2710(d)(8)(C). As a result, whether those agreements are valid remains an open question,

see Pueblo of Santa Ana v. Kelly, 104 F.3d 1546, 1557 (10th Cir. 1997) (rejecting the

notion that “Secretarial approval of the compacts is all that is necessary in order for the

compacts to comply with IGRA”), which should be resolved in a court in which subject

matter jurisdiction is conferred by a properly brought claim that actually relates to the new

agreements.

       C.     Defendant is Procedurally Barred from Raising These Issues Here.

       The Court should also refuse to grant the Motion to Clarify because Defendant has

no standing to raise these questions in this case, which were never part of this case to begin

with, and which Defendant later took affirmative action to keep from this case. In addition,

because the Two Tribes were dismissed with prejudice, the validity of their new

agreements has no bearing on the claims or mediation between the remaining parties. As

the issues Defendant raises have no relationship to the issues in the case, any relief he could

obtain on his Motion to Clarify would not redress an injury-in-fact. See Utah Animal

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Rights Coal. v. Salt Lake City Corp., 371 F.3d 1248, 1255 (10th Cir. 2004) (standing has

three necessary elements: “1) injury-in-fact; 2) causation; and 3) redressability.”).

       The Motion to Clarify also seeks to advance a position that is contrary to

Defendant’s arguments in his Motion for Partial Summary Judgment and Brief in Support,

ECF No. 126 (“Sum. Judg. Br.”). In his Motion to Clarify, Defendant contends that he has

authority to negotiate and enter into gaming compacts authorizing games not permitted in

the Model Compact. Motion to Clarify at 11, 13-14. Furthermore, he argues that limiting

gaming compacts to the terms of the Model Compact would violate the separation of

powers provision of the Oklahoma Constitution. Id. at 15. However, in his summary

judgment brief, Defendant takes the opposite view of the legislative and executive roles

with respect to gaming policy, asserting that the state Legislature must set that policy:

       Pursuant to the fundamental separation of powers found in Oklahoma’s
       Constitution, the State authorizes certain conduct such as gambling through
       legislative enactments; the executive branch administers that authority,
       frequently through the issuance of licenses and permits to those who are then
       given a privilege or permission to act in a manner consistent with the State’s
       policy. See City of Sand Springs v. Dep’t of Pub. Welfare, 1980 OK 36, 608
       P.2d 1139, 1146 (“the dichotomy between administrative acts and legislative
       acts hinges upon the declaration of policy, which is a legislative function,
       and the implementation of that policy, which is traditionally an administrative
       function.”).

Sum. Judg. Br. at 24-25. Defendant goes on to note that while generally “gambling is

illegal in the State,” the State-Tribal Gaming Act (“STGA”) authorizes gaming in the

Model Compact, and “[a]doption of this policy is clearly a legislative function.” Id. at

25-26. Although the discussion in the summary judgment brief focuses on the scope of

non-tribal gaming, its acknowledgment of the Oklahoma Legislature’s primary


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policy-setting role with respect to gaming is contrary to the position advanced in the

Motion to Clarify. Defendant’s effort to “shape these proceedings,” and to engage in

“selective posturing” by “tak[ing] inconsistent positions at various points . . . for the sake

of expediency” is inappropriate and should be rejected. See AKH Co. v. Universal

Underwriters Ins. Co., No. 13-2003-JAR, 2013 WL 3456936, at *7 (D. Kan. July 9, 2013).

       D.     Defendant’s Motion to Clarify Has No Merit.

       Finally, even if it were properly brought, the Motion to Clarify has no merit.

Defendant’s assertion that he has constitutional authority to “enter into” the agreements on

behalf of the State fails under the bare terms of the Oklahoma Constitution. Article 6,

Section 8 of the Oklahoma Constitution provides in full that:

       [t]he Governor shall cause the laws of the State to be faithfully executed, and
       shall conduct in person or in such manner as may be prescribed by law, all
       intercourse and business of the State with other states and with the United
       States, and he shall be a conservator of the peace throughout the State.

(emphasis added). Nothing in Article 6, Section 8, or any other part of the Constitution,

gives the Governor the authority or duty to engage in intercourse with or conduct business

with Indian tribes. Since the Oklahoma Constitution is silent as to the Governor’s conduct

of business with Indian tribes, the Governor’s duties in that area must be exercised

pursuant to the public policy of the State embodied in legislation, as provided by Article 6,

Section 1:

       [t]he Executive authority of the state shall be vested in a Governor, . . . and
       other officers provided by law and this Constitution, each of whom shall
       keep his office and public records, books and papers at the seat of
       government, and shall perform such duties as may be designated in this
       Constitution or prescribed by law.”


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(emphasis added). Legislative power is exercised when the People or the Legislature enact

a law, Okla. Const. art. 5, §§ 1, 36, which the Governor must then “cause . . . to be

faithfully executed,” id. art. 6, § 8. Pursuant to the Oklahoma Constitution,the Legislature

and the People have exercised the legislative power to define how the Governor and State

conduct business with Indian tribes in terms that totally defeat Defendant’s argument that

he has statutory authority to “enter into” the Two Tribes’ agreements.

       First, the STGA, which was approved by the Legislature and the People, see Okla.

Stat. tit. 3A, § 280; State Question 712 (Nov. 2, 2004), provides that the State may enter

into an IGRA compact with an Indian tribe when the Tribe signs the Model Compact,

which is defined by statute, Okla. Stat. tit. 3A, §§ 280-281. The Model Compact, as

offered by the STGA, specifically circumscribes the Governor’s role in IGRA compacting.

The only portion of the Compact that refers to the Governor’s authority is Part 15.B., which

provides that “the state, acting through its Governor, may request to renegotiate the terms

of subsections A and E of Part 11 of this Compact.” Id. § 281. (emphasis added). That

language clearly distinguishes between the State and the Governor and only gives the

Governor power to act for the State in the exercise of one specific compacting function –

requesting negotiations, not entering into renegotiated compact terms. And since the

Model Compact was enacted, the State has offered supplemental terms to tribes by

legislative enactment, which the Tribes “entered into” by signing the model supplemental

compact offer. Id. § 280.1.

       Second, state law enacted by the Legislature provides that the Governor may

“negotiate and enter into cooperative agreements on behalf of this state with federally

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recognized Indian tribal governments within this state to address issues of mutual interest.”

Okla. Stat. tit. 74 § 1221(C)(1). But that alone does not cause the State to enter into such

agreements, as “[e]xcept as otherwise provided by this subsection, such agreements shall

become effective upon approval by the Joint Committee on State-Tribal Relations.” Id.

(emphasis added). That has not occurred here.

       Defendant interprets the Oklahoma Constitution and statutes differently, but has no

convincing authority to support his atextual approach.1 He first relies on an Oklahoma

Supreme Court opinion that said only that the Governor can negotiate compacts with

Tribes, not “enter into” them on behalf of the State. See Motion to Clarify at 8-9 (quoting

Sheffer v. Buffalo Run Casino, PTE, Inc., 2013 OK 77, ¶ 12, 315 P.3d 359). He then cites a

case on Oregon law, see id. at 9 (quoting Dewberry v. Kulongoski, 406 F. Supp. 2d 1136,

1156 (D. Or. 2005)), but that law gives the Oregon Governor the power to negotiate and

enter into compacts with no requirement for legislative approval and was enacted by a

legislature that expressly stated its intent in the legislative history not to require legislative

approval of such compacts, see Dewberry, 406 F. Supp. 2d at 1154-56 (discussing Or. Rev.

Stat. § 190.110).



1
 For example, the provision in Okla. Stat. tit. 3A, § 280 that “[n]o tribe shall be required to
agree to terms different than the terms set forth in the Model Tribal Gaming Compact,”
says nothing about the Governor’s authority to deviate from the Model Compact, as
Defendant suggests. See Motion to Clarify at 14. Defendant also points to Part 15.B. of the
Compacts authorizing the Governor to request a compacting tribe to renegotiate the
exclusivity provisions at the end of the term, Motion to Clarify at 14-15, but that provision
supports the opposite conclusion, that the Governor lacks authority to bind the State to
different exclusivity provisions under other circumstances or to enter a binding agreement
with respect to any other distinct provisions under any circumstances. See supra at 8-9.

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       Defendant then argues that his interpretation of the Oklahoma Constitution and

statutes is supported by a 2004 Oklahoma Attorney General Opinion on the separation of

powers that predates the STGA. See Motion to Clarify at 10 (citing In re Williamson, 2004

OK AG 27, 2004 WL 2002612 (Okla. A.G. Aug. 26, 2004)). But the question of

separation of powers is downstream from the text of the Constitution that actually defines

those powers – and the Oklahoma Constitution provides the Governor’s powers here are

created by and subject to law, which is enacted by the Legislature or the People. Indeed,

the 2004 opinion itself recognized that “[o]f course, any agreement negotiated by the

Governor must conform to the public policy enacted into law by the Legislature, as the role

of the Legislative Branch is to establish public policy, and the role of the Executive Branch

is to execute that policy.” 2004 OK AG 27, ¶ 30b n.3 (citing Tweedy v. Okla. Bar Ass’n,

624 P.2d 1049, 1054 (Okla. 1981)). Defendant later admits that Oklahoma Attorney

General opinions on constitutional questions are nonbinding and advisory, Motion to

Clarify at 11-12 & n.7, and gives no convincing reason why the 2004 opinion should

control over the 2020 opinion he attempts to avoid, see In re Treat, 2020 OK AG 8, 2020

WL 2304499 (Okla. A.G. May 5, 2020).2



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  Defendant gratuitously attacks the Attorney General of Oklahoma – who is not a party to
this case – for taking a different position when he was tasked with delivering Defendant’s
position to the Tribes in 2019. See Motion to Clarify at 10-12. The Attorney General can
hardly be faulted for presenting Defendant’s position while acting as a negotiator on
Defendant’s behalf. Since then, he properly concluded Defendant’s position is untenable
and refused to continue negotiating for Defendant. When asked for an opinion on
Defendant’s position by legislative leadership, he complied with his legal obligation to
provide such an opinion and explained why Defendant is wrong. See Okla. Stat. tit. 74,
§ 18b(A)(5).

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       Finally, Defendant points to IGRA’s provisions requiring the State to negotiate in

good faith regarding terms of gaming compacts governing scope of games. Motion to

Clarify at 16-25. Such questions are distinct from the Governor’s authority under state law

to bind the State. See Kelly, 104 F.3d at 1557 (“State law must determine whether a state

has validly bound itself to a compact.”). His lack of authority to bind the State is totally

dispositive of whether the agreements are valid compacts, and therefore there is no reason

to consider this argument about negotiations over the scope of gaming. Moreover, no party

has brought any allegation of bad faith negotiation before the Court in this case.

       Accordingly, the Court should deny the Motion to Clarify.

II.    The Court Should Also Deny the Abeyance Motion

       The Court should also deny Defendant’s Abeyance Motion. ECF No. 132. The

only relief Defendant asks for in the Abeyance Motion is that mediation be held in

abeyance until the Court resolves the Motion to Clarify. Id. at 3. That request will be made

moot by denial of Defendant’s Motion to Clarify.

       For the foregoing reasons, the Nations respectfully ask that this Court deny

Defendant’s Motion to Clarify and Abeyance Motion.

                                                 Respectfully submitted,

Dated: June 11, 2020                           By: /s/ Robert H. Henry
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                             CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2020, I electronically filed the above and foregoing

document with the Clerk of Court via the ECF System for filing. Based on the records

currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing to the

parties registered to receive such notice.


                                                  /s/ Frank S. Holleman
                                                  Frank S. Holleman




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